310 F.3d 1134
    Chrystine M. Lawson, an individual; Campus Labor Action Coalition, an unincorporated association, Plaintiffs-Appellants,v.City of Santa Barbara, a municipal corporation; Mike Carpenter; Richard C. Johns, in their official capacity, Defendants-Appellees.
    No. 01-56150.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted February 13, 2002 — San Francisco, California.
    Filed November 13, 2002.
    Amended December 27, 2002.
    
      1
      The previous opinion, filed November 13, 2002, is withdrawn, and a memorandum disposition is filed in its stead.
    
    